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  Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
  Nos., State Bar No. & Email Address
  Lynda T. Bui, Trustee
  3550 Vine Street, Suite 210
  Riverside CA 92507
  Telephone: (949) 340-3400
  Facsimile: (949) 340-3000
  Email: trustee.bui@shulmanbastian.com




      Movant(s) appearing without an attorney
      Attorney for Movant(s)
                                         UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

  In re:                                                                     CASE NO.: 6:19-bk-14667-MW
  NIXON TIANGCO SY                                                           CHAPTER: 7


                                                                                     DECLARATION THAT NO PARTY
                                                                                   REQUESTED A HEARING ON MOTION
                                                                                                    LBR 9013-1(o)(3)


                                                                                                    [No Hearing Required]
                                                              Debtor(s).


  1. I am the         Movant(s) or          attorney for Movant(s) or           employed by attorney for Movant(s).

  2. On (date): 10/08/2019             Movant(s) filed a motion or application (Motion) entitled: Chapter 7 Trustee's Application
      for Order Authorizing Employment of Broker Team of Pro Realty Group and Bk Global Real Estate (dkt 28)

  3. A copy of the Motion and notice of motion is attached to this declaration.

  4. On (date): 10/08/2019 Movant(s), served a copy of          the notice of motion or    the Motion and notice of motion
     on required parties using the method(s) identified on the Proof of Service of the notice of motion.

  5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written response and
     request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if served by
     mail, or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).

  6. More than 17          days have passed after Movant(s) served the notice of motion.

  7. I checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request for hearing
     was timely filed.

  8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the street
     address, email address, or facsimile number specified in the notice of motion.

            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                            Page 1                    F 9013-1.2.NO.REQUEST.HEARING.DEC
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  9. Based on the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required.

Movant(s) requests that the court grant the motion and enter an order without a hearing.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




    Date: 10/28/2019                                       _______________________________________________
                                                           /s/ Lynda T. Bui
                                                           Signature


                                                           _______________________________________________
                                                           Lynda T. Bui
                                                           Printed name




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                   APPLICATION
             (With Notice of Opportunity
                 to Request Hearing)
          Case 6:19-bk-14667-MW                    Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25                                       Desc
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                                                                                                Filed 10/8/2019
 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY docket 28
 Nos., State Bar No. & Email Address
Lynda T Bui, Trustee
3550 Vine Street, Ste. 210
Riverside, CA 92507
Telephone: (949) 340-3400
Facsimile: (949) 340-3000
Email: Trustee.Bui@shbllp.com


Chapter 7 Trustee




      Debtor(s) appearing without an attorney
      Attorney for:

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION DIVISION

 In re:                                                                      CASE NO.: 6:19-bk-14667-MW
NIXON TIANGCO SY                                                             CHAPTER: 7



                                                                                        NOTICE OF OPPORTUNITY TO
                                                                                      REQUEST A HEARING ON MOTION

                                                                                                      [LBR 9013-1(o)]


                                                                                          [No hearing unless requested in writing]
                                                              Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

               Lynda T. Bui, solely in her capacity as the Chapter 7 Trustee
1. Movant(s) ____________________________________________________________________________________,
                                                   Chapter 7 Trustee's Application for Order Authorizing
   filed a motion or application (Motion) entitled _________________________________________________________
   Employment of the Broker Team of Pro Realty Group, and BK Global Real Estate Services
   _____________________________________________________________________________________________.

2. Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(o), unless a
   party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):
          The full Motion is attached to this notice; or
          The full Motion was filed with the court as docket entry # _____, and a detailed description of the relief sought is
          attached to this notice.

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
   LBR 9013-1(o), any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve
   a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if
   you were served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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    a. If you timely file and serve a written opposition and request for a hearing, movant will file and serve a notice of
       hearing at least 14 days in advance of the hearing. [LBR 9013-1(o)(4)]

    b. If you fail to comply with this deadline:

        (1) Movant will file a declaration to indicate: (1) the Motion was properly served, (2) the response period elapsed,
            and (3) no party filed and served a written opposition and request for a hearing within 14 days after the date
            of service of the notice [LBR 9013-1(o)(3)];
        (2) Movant will lodge an order that the court may use to grant the Motion; and
        (3) The court may treat your failure as a waiver of your right to oppose the Motion and may grant the Motion
            without further hearing and notice. [LBR 9013-1(h)]




                                                                      Respectfully submitted,



Date: 10/08/2019                                                      /s/ Lynda T. Bui                                                   .
                                                                      Signature of Movant or attorney for Movant

                                                                      Lynda T. Bui                                                       .
                                                                      Printed name of Movant or attorney for Movant




         This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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               1 Lynda T Bui, Trustee
                 3550 Vine Street, Ste. 210
               2 Riverside, CA 92507
                 Telephone: (949) 340-3400
               3 Facsimile: (949) 340-3000
                 Email: Trustee.Bui@shbllp.com
               4

               5 Chapter 7 Trustee

               6

               7

               8
                                                    UNITED STATES BANKRUPTCY COURT
               9
                                      CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION
             10

             11        In re                                                    Case No. 6:19-bk-14667-MW
             12        NIXON TIANGCO SY,                                        Chapter 7
             13                                                                 CHAPTER 7 TRUSTEE’S APPLICATION FOR
                       Debtor.                                                  AN ORDER AUTHORIZING EMPLOYMENT
             14                                                                 OF THE BROKER TEAM OF PRO REALTY
                                                                                GROUP AND BK GLOBAL REAL ESTATE
             15                                                                 SERVICES AS REAL ESTATE BROKER;
                                                                                DECLARATIONS OF MATT VANDERBEEK
             16                                                                 AND PATRICK BUTLER IN SUPPORT
                                                                                THEREOF
             17
                                                                                [No Hearing Required Pursuant to
             18                                                                 Local Bankruptcy Rule 2014-1(b)]
             19

             20 TO THE HONORABLE MARK S. WALLACE, UNITED STATES BANKRUPTCY JUDGE,

             21 THE OFFICE OF THE UNITED STATES TRUSTEE, AND OTHER PARTIES-IN-

             22 INTEREST:

             23                Lynda T. Bui, solely in her capacity as the Chapter 7 Trustee (“Trustee”) for the
             24 bankruptcy estate (“Estate”) of Nixon Tiangco Sy (“Debtor”), brings this Application for an

             25 Order Authorizing Employment of the Broker Team of Pro Realty Group, and BK Global

             26 Real Estate Services (“Application”) as the Trustee’s real estate broker team (“Broker

             27 Team”) in this bankruptcy case to assist the Trustee in the listing, marketing and

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                 1
                      23147-000 TC Nixon Sy\Employ Short Sale Broker Team App
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               1 negotiating a short sale of the Estate’s interest in the Property (identified below). In support

               2 of the Application, the Trustee respectfully represents as follows:

               3                                      I.       BACKGROUND INFORMATION

               4              The Debtor commenced this bankruptcy case under Chapter 7 by filing a Voluntary

               5 Petition on May 30, 2019. Lynda T. Bui is the duly appointed, qualified and acting Chapter

               6 7 trustee for the Estate.

               7              On his Schedule E/F, the Debtor lists secured claims of $593,901.05, priority

               8 unsecured claims of $1,326.00, and unsecured claims of $46,015.00. A deadline for filing

               9 claims in this case has not yet been set.

             10               Property of the Estate includes the Debtor’s interest in the real property located at

             11 7413 Maggie Lane, Eastvale, California 92880 (“Property”). On his Schedule C, the Debtor

             12 did not claim an exemption in the Property.

             13               On his original Schedule A/B (docket 1) and his Amended Schedule A/B (docket 10),

             14 the Debtor valued his interest in the Property at $584,222.00 and listed one lien on his

             15 Schedule D in favor of Select Portfolio Servicing (“Secured Creditor”) in the amount of

             16 $593,901.05.

             17               Based on the Schedules, there does not appear to be equity in the Property for the

             18 benefit of the Estate. However, after reviewing certain materials provided by the Broker
             19 Team, including the BK Score™1, sales analysis report and opinion of value for the

             20 Property, the Trustee has determined it would be in the best interest of the Estate and its

             21 creditors to negotiate to obtain the agreement of Secured Creditor and consent to the

             22 following (“Consented Sale™”):

             23
                                   •   Subject to Court approval, (i) sell the Property to whichever third party the
             24                        Trustee and/or the Secured Creditor determine to have made the best
                                       qualified offer for the Property, or (ii) buy the Property from the Estate if (and
             25                        only if) no third-party offer to purchase the Property is received by the Trustee
                                       (any sale of the Property by the Trustee will be conducted in accordance with
             26

             27       1  The BK ScoreTM is a 100 point rating that is generated by a proprietary algorithm from ten
             28 unique property attributes in order to consistently measure sales confidence and predict market
  Lynda T. Bui,
Chapter 7 Trustee value of real property.
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                2
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               1                       Bankruptcy Code Section 363 and Federal Rule of Bankruptcy Procedure
                                       6004 upon a noticed motion to be filed hereinafter in this bankruptcy case);
               2
                                   •   Release the liens of the senior Secured Creditor against the Property and
               3                       otherwise waive all of its/their claims against the Estate with respect to the
                                       Property (including any deficiency claims resulting from the Trustee’s sale of
               4                       the Property); and

               5                   •   Agree to pay all of the expenses associated with the proposed short sale,
                                       including (i) payment of a 6% real estate brokerage commission to the Broker
               6                       Team and reimbursement of their out-of-pocket expenses, and (ii) a carveout
                                       for the Estate that provides for a meaningful distribution on allowed unsecured
               7                       claims.

               8              The Trustee believes that with the Broker Team’s assistance to negotiate and obtain

               9 the Consented Sale™, the short sale of the Property, if successful, will provide for a

             10 meaningful distribution to allowed unsecured claims in this case. Based thereon, the

             11 Trustee believes that employment of the Broker Team will be in the best interest of the

             12 Estate.

             13                                       II.      SERVICES TO BE PERFORMED

             14               In order to market the Property for sale and assist the Trustee in negotiating with the

             15 Secured Creditor to obtain the Consented Sale™ and conduct a short sale in the most

             16 effective manner and thereby to liquidate the Property for the best and highest price in the

             17 current real estate market, the Trustee has solicited the assistance of the Broker Team.

             18               Attached as Exhibit 1 to the Declaration of Matt Vanderbeek (“Vanderbeek
             19 Declaration”) is a description of the qualifications of Pro Realty Group (“Listing Agent”).

             20 The Trustee is informed that the Listing Agent is experienced in real estate sales and

             21 marketing, including the area in which the Property is located, and is well qualified in

             22 negotiating sales of real property similar to the Property herein. The employment of the

             23 Listing Agent is anticipated to benefit the Estate providing marketing coverage for the area

             24 in which the Property is located, as well as services that are unique to the sale of real

             25 property in the context of a bankruptcy case.

             26               Attached as Exhibit 2 to the Declaration of Patrick Butler (“Butler Declaration”) is a

             27 description of the qualifications and services provided by BK Global Real Estate Services

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                3
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               1 (“BK Global”). BK Global and its affiliates2 have proprietary technology and a national team

               2 of experienced loan servicing specialists, asset managers, negotiators, trustee relation

               3 managers, real estate brokers and agents, closing specialists and attorneys with extensive

               4 experience in procuring the consent of lenders and servicers to sell real property with no

               5 equity and provide significant cash recoveries to the selling bankruptcy estates, through a

               6 Consented Sale™ process.

               7              The Broker Team is familiar with the sale of real property in the context of a

               8 bankruptcy case and will be able to provide knowledge that is unique to the sale of Property

               9 and in negotiating a short sale to address a potential complex bankruptcy sale.

             10               The Broker Team, on the Trustee’s behalf, has examined the Property and has

             11 agreed to (i) advertise the Property at its expense, (ii) to show the Property to interested

             12 parties, (iii) to represent the Estate as seller in connection with the sale of the Property, (iv)

             13 to negotiate with the Secured Creditor to obtain a carve-out for the Estate on a short sale

             14 basis, and (v) to advise the Trustee with respect to obtaining the highest and best offers

             15 available for the Property in the present market.

             16               A true and correct copy of the Residential Listing Agreement (Exclusive Authorization

             17 and Right to Sell) for the Property and the addenda thereto is attached to the Vanderbeek

             18 Declaration as Exhibit 3. The Property will be listed for sale at $559,900.00.
             19                                       III.     COMPENSATION PROCEDURE

             20               The Broker Team will share a customary brokerage commission that is paid as

             21 approved by this Court. Specifically, in consideration for the Broker Team’s services,

             22 subject to further application and Court order, the Broker Team will receive, upon

             23 consummation of any sale of the Property, a real estate agent’s commission in an amount

             24 not to exceed six percent of the purchase price.

             25               The Broker Team has agreed to cooperate with outside brokers. In the event any

             26 broker or agent other than the Broker Team represents a purchaser of the Property (a

             27

             28
   Lynda T. Bui,      2
Chapter 7 Trustee             BK Global is the broker affiliate of Bankruptcy Global Holdings, LLC.
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                4
                      23147-000 TC Nixon Sy\Employ Short Sale Broker Team App
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               1 “Selling Broker”), the commission will be split between the Broker Team and the Selling

               2 Broker in amounts to be determined. In any event, the total commission will not exceed

               3 six percent of the total purchase price.

               4              The Broker Team has been informed and understands that no sale of the Property

               5 may be consummated until after (i) notice to creditors with the opportunity for a hearing on

               6 the proposed sale, and (ii) entry of a Court order approving the sale.

               7              The Broker Team has been informed and understands that the Property is being

               8 sold on an “as is – where as” basis with all faults and conditions then existing at the

               9 Property, and thus understands that (i) the Trustee is not making any representations,

             10 warranties, either express or implied, as to the condition of the Property, uses (prior,

             11 present and future), or otherwise; (ii) the Trustee shall not provide the buyer with any

             12 reports as to the use or condition of the Property; (iii) the Trustee shall not provide the

             13 buyer with any warranty protection plan with any building permits or plans; and (iv) the

             14 Trustee is selling the Property solely in her capacity as the Chapter 7 Trustee of the Estate.

             15               The Broker Team has agreed to be compensated subject to the provisions of

             16 Bankruptcy Code Section 328. The Broker is aware of the provisions of Bankruptcy Code

             17 Section 328(a) and has agreed, notwithstanding the terms and conditions of employment

             18 herein, that the Court may allow compensation different from the compensation provided
             19 herein if such terms and conditions prove to have been improvident in light of developments

             20 unanticipated at the time of the fixing of such terms and conditions.

             21                               IV.      THE BROKER TEAM IS “DISINTERESTED”

             22 A.            Listing Agent

             23               Other than being employed as a real estate broker in other non-related bankruptcy

             24 cases, to the best of the Trustee’s knowledge after full investigation, and as set forth in the

             25 Vanderbeek Declaration, the Listing Agent and the firm’s respective principals, employees

             26 and agents: (i) do not hold or represent any interest adverse to the Trustee, the Debtor,

             27 the creditors and the Estate; (ii) have no connections with the Debtor, the creditors of the

             28 Estate, any other party in interest, their respective attorneys and accountants, the United
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                5
                      23147-000 TC Nixon Sy\Employ Short Sale Broker Team App
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               1 States Trustee, any person employed in the office of the United States Trustee, or any

               2 bankruptcy judge presiding in the United States Bankruptcy Court for the Central District

               3 of California; and (iii) is a disinterested person as that term is defined in Bankruptcy Code

               4 Section 101 (14) and used in Bankruptcy Code Section 327(a).

               5 B.           BK Global

               6              Other than being employed as a real estate broker in other non-related bankruptcy

               7 cases, to the best of the Trustee’s knowledge after full investigation, and as set forth in

               8 the Butler Declaration, BK Global and the firm’s respective principals, employees and

               9 agents: (i) do not hold or represent any interest adverse to the Trustee, the Debtor, the

             10 creditors and the Estate; (ii) have no connections with the Debtor, the creditors of the

             11 Estate, any other party in interest, their respective attorneys and accountants, the United

             12 States Trustee, any person employed in the office of the United States Trustee, or any

             13 bankruptcy judge presiding in the United States Bankruptcy Court for the Central District

             14 of California; and (iii) is a disinterested person as that term is defined in Bankruptcy Code

             15 Section 101 (14) and used in Bankruptcy Code Section 327(a).

             16        V.       THE EMPLOYMENT OF THE BROKER TEAM IS IN THE BEST INTEREST OF

             17                                                         THE ESTATE

             18               The Trustee is informed and believes and on that basis alleges that employment of
             19 the Broker Team on the terms and conditions provided for herein is in the best interest of

             20 the Estate.

             21 ////

             22 ////

             23 ////

             24

             25

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             27

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                6
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               1              WHEREFORE, the Trustee requests that she be authorized to (i) employ the Broker

               2 Team as her real estate broker on the terms and conditions set forth in this Application, (ii)

               3 execute the Residential Listing Agreement (Exclusive Authorization and Right to Sell) and

               4 its addenda attached as Exhibit 3, and (iii) for such other and further relief as is just.

               5

               6

               7
                       Dated: October 4, 2019                       /s/ Lynda T. Bui
               8                                                  Lynda T. Bui
                                                                  Chapter 7 Trustee for the bankruptcy estate of
               9                                                  Nixon Tiangco Sy

             10

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   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                7
                      23147-000 TC Nixon Sy\Employ Short Sale Broker Team App
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                   DECLARATION
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               1                                     DECLARATION OF MATT VANDERBEEK

               2              I, Matt Vanderbeek, declare and state as follows:

               3              1.       The matters stated herein are true and correct and within my personal

               4 knowledge. If called as a witness, I could and would competently testify thereto. I am a

               5 real estate broker, duly licensed in the State of California and associated with Pro Realty

               6 Group (“Firm”) located at 54 Endless Vista, Aliso Viejo, California 92656; telephone 949-

               7 795-8914. I make this declaration in support of the Application for Order Authorizing

               8 Employment of the Broker Team of Pro Realty Group and BK Global Real Estate Services

               9 (“Application”) filed by Lynda T. Bui, the Chapter 7 trustee (“Trustee”) for the bankruptcy

             10 estate (“Estate”) of Nixon Tiangco Sy (“Debtor”).

             11               2.       I have read the Application and am familiar with the real property located at

             12 7413 Maggie Lane, Eastvale, California 92880 (“Property”). I believe that I am qualified to

             13 represent the Trustee and the Estate in connection with the marketing of the Property and

             14 negotiating with potential buyers for a short sale of the Property. Attached hereto as

             15 Exhibit 1 is a description of qualifications of the Firm.

             16               3.       The Firm has agreed to accept employment on the terms and conditions set

             17 forth in the Application and as set forth in the Residential Listing Agreement (Exclusive

             18 Authorization and Right to Sell) and the addenda attached thereto, a copy of which is
             19 attached hereto as Exhibit 3 and incorporated herein by this reference.

             20               4.       The Firm and I have been informed and understand that no sale of the

             21 Property may be consummated until after (i) notice to creditors with the opportunity for a

             22 hearing on the proposed sale, and (ii) entry of a Court order approving the sale.

             23               5.       The Firm and I have been informed and understand that the Property is being

             24 sold on an “as is – where as” basis with all faults and conditions then existing at the

             25 Property, and thus understand that: (i) the Trustee is not making any representations,

             26 warranties, either express or implied, as to the condition of the Property, uses (prior,

             27 present and future), or otherwise; (ii) the Trustee shall not provide the buyer with any

             28 reports as to the use or condition of the Property; (iii) the Trustee shall not provide the
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                8
                      23147-000 TC Nixon Sy\Employ Short Sale Broker Team App
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               1 buyer with any warranty protection plan with any building permits or plans; and (iv) the

               2 Trustee is selling the Property solely in her capacity as the Chapter 7 trustee of the Estate.

               3              6.       The Firm and I have agreed and understand that notwithstanding the terms

               4 and conditions of employment herein set forth, that the Court may allow compensation

               5 different from the compensation provided herein if such terms and conditions prove to have

               6 been improvident in light of development unanticipated at the time of the fixing of such

               7 terms and conditions.

               8              7.       The Firm and I have no pre-petition claim against the Estate.

               9              8.       The Firm and I received no retainer for the services to be performed herein.

             10               9.       To the best of my knowledge after full investigation, the Firm and its

             11 principals, employees, agents and I:

             12                        a. do not hold or represent any interest adverse to the Trustee, the Debtor,

             13 Debtor’s’ creditors, and the Estate;

             14                        b. have no connections with the Debtor, the Debtor’s creditors, any other

             15 party in interest, their respective attorneys and accountants, the United States Trustee, any

             16 person employed in the office of the United States Trustee, or any bankruptcy judge

             17 presiding in the United States Bankruptcy Court for the Central District of California;

             18                        c. are “disinterested” as that term is defined in Bankruptcy Code Section 101

             19 (14) and used in Bankruptcy Code Section 327(a) because the Firm and I:

             20                                  i.       are not a creditor or an insider;

             21                                  ii.      are not and was not an investment banker for any outstanding

             22 security of the Debtor;

             23                                  iii.     have not been, within three years before the date of the filing of

             24 the Debtor’s petition, an investment banker for the security of the Debtor or an attorney for

             25 such an investment banker in connection with the offer, sale or issuance of a security of

             26 the Debtor;

             27

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                9
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                   DECLARATION
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               1                                       DECLARATION OF PATRICK BUTLER

               2              I, Patrick Butler declare and state as follows:

               3              1.       The matters stated herein are true and correct and within my personal

               4 knowledge. If called as a witness, I could and would competently testify thereto. I am a

               5 real estate broker, duly licensed in the State of Florida and associated with BK Global Real

               6 Estate Services (“Firm”), an entity duly licensed as a real estate brokerage firm in Florida,

               7 with an office located at 1095 Broken Sound Parkway, N.W., Suite 100, Boca Raton, FL

               8 33487; telephone 855-658-1254. I am the Firm’s broker-in-charge and am authorized by

               9 the Firm to and make this declaration in support of the Application for Order Authorizing

             10 Employment of the Broker Team of Pro Realty Group and BK Global Real Estate Services

             11 (“Application”) filed by Lynda T. Bui, the Chapter 7 trustee (“Trustee”) for the bankruptcy

             12 estate (“Estate”) of Nixon Tiangco Sy (“Debtor”).

             13               2.       I have read the Application and am familiar with the real property located at

             14 7413 Maggie Lane, Eastvale, California 92880 (“Property”). I believe that the Firm is

             15 qualified to represent the Trustee and the Estate in connection with the marketing of the

             16 Property and negotiating with the Secured Creditor for approval of a short sale of the

             17 Property as described in the Application. Attached hereto as Exhibit 2 is a description of

             18 the Firm’s qualifications.
             19               3.       The Firm has agreed to accept employment on the terms and conditions set

             20 forth in the Application.

             21               4.       The Firm and I have been informed and understand that no sale of the

             22 Property may be consummated until after (i) notice to creditors with the opportunity for a

             23 hearing on the proposed sale, and (ii) entry of a Court order approving the sale.

             24               5.       The Firm and I have been informed and understand that the Property is being

             25 sold on an “as is – where as” basis with all faults and conditions then existing at the

             26 Property, and thus understand that: (i) the Trustee is not making any representations,

             27 warranties, either express or implied, as to the condition of the Property, uses (prior,

             28 present and future), or otherwise; (ii) the Trustee shall not provide the buyer with any
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                11
                      23147-000 TC Nixon Sy\Employ Short Sale Broker Team App
           Case 6:19-bk-14667-MW                      Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25          Desc
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               1 reports as to the use or condition of the Property; (iii) the Trustee shall not provide the

               2 buyer with any warranty protection plan with any building permits or plans; and (iv) the

               3 Trustee is selling the Property solely in her capacity as the Chapter 7 trustee of the Estate.

               4              6.       The Firm and I have agreed and understand that notwithstanding the terms

               5 and conditions of employment herein set forth, that the Court may allow compensation

               6 different from the compensation provided herein if such terms and conditions prove to have

               7 been improvident in light of development unanticipated at the time of the fixing of such

               8 terms and conditions.

               9              7.       The Firm and I have no pre-petition claim against the Estate.

             10               8.       The Firm and I received no retainer for the services to be performed herein.

             11               9.       To the best of my knowledge after full investigation, the Firm and its

             12 principals, employees, agents and I:

             13                        a. do not hold or represent any interest adverse to the Trustee, the Debtor,

             14 Debtor’s’ creditors, and the Estate;

             15                        b. have no connections with the Debtor, the Debtor’s’ creditors, any other

             16 party in interest, their respective attorneys and accountants, the United States Trustee, any

             17 person employed in the office of the United States Trustee, or any bankruptcy judge

             18 presiding in the United States Bankruptcy Court for the Central District of California;
             19                        c. are “disinterested” as that term is defined in Bankruptcy Code Section 101

             20 (14) and used in Bankruptcy Code Section 327(a) because the Firm and I:

             21                                  i.       are not a creditor or an insider;

             22                                  ii.      are not and was not an investment banker for any outstanding

             23 security of the Debtor;

             24                                  iii.     have not been, within three years before the date of the filing of

             25 the Debtor’s’ petition, an investment banker for the security of the Debtor or an attorney for

             26 such an investment banker in connection with the offer, sale or issuance of a security of

             27 the Debtor;

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                12
                      23147-000 TC Nixon Sy\Employ Short Sale Broker Team App
Case 6:19-bk-14667-MW   Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25   Desc
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                    Exhibit 1
           Listing Agent Qualifications
          Case 6:19-bk-14667-MW            Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25                    Desc
                                           Main Document    Page 22 of 52
                                                            MATT VANDERBEEK
                               54 Endless Vista, Aliso Viejo, CA 92656 | (H) 949-360-6086 | (C) 949-795-8914 | beek91@cox.net

                                                       www.NFLbroker.com

Professional Summary
Motivated real estate professional versed in all aspects of real estate transactions, including managing the development
and execution of representation contracts, purchase agreements, closing statements, deeds and leases.

Accomplished Real Estate Agent skilled at evaluating and marketing investment properties through large scale open
houses, comparable property analysis and short sale and foreclosure statistics to realize the client's best possible financial
return.

Dedicated sales and marketing professional who exceeds goals, retains customers and maintains a strong reputation for
customer satisfaction.

Multi-million dollar producer and commissioned Real Estate Broker versed in marketing and negotiations, specializing in
REO and short sales. Closed over $100 million in sales.

Skills
 l   Active California Real Estate Broker's License              l   Flexible schedule
 l   MLS expert                                                  l   Comparative market analysis
 l   Customer service-oriented                                   l   Strong organizational skills
 l   Expert closer                                               l   Innovative marketing strategist
 l   Buyer contracts                                             l   Investment property expert
 l   Home inspections                                            l   Marketing and promotions
 l   Accomplished in commission sales                            l   CA Association of Realtors
 l   Detail-oriented                                             l   REO and Foreclosure specialist
 l   Excellent teamwork                                          l   Client-oriented
 l   Works well independently                                    l   Short Sale Specialist-100% Close Rate
 l   Property assessments

Work History
Professional Football Player in the National Football League
Indianapolis Colts – Indianapolis, IN                                                                     04/1990 to 12/1992
Professional Football Player in the National Football League
Dallas Cowboys – Irving, T X                                                                              09/1993 to 02/1994
Professional Football Player in the National Football League
Washington Redskins – Arlington, VA                                                                       04/1995 to 12/1996
Investor
Self Employed - Real Estate Investing and Flipping Properties VA and HUD Homes – Los                      05/1999 to 04/2014
Angeles and Orange County
Broker, Owner
Self Employed - Pro Realty Group – Aliso Viejo, CA 92656                                                  09/1999 to Current
 l Represent buyers, sellers and banks in marketing and selling homes and assets.
 l Advertise client properties on websites, through social media and in real estate guides.
 l Show properties to potential buyers and other brokers at open houses and by appointment.
 l Generate listings for sales and rental properties through referrals.

Education

                                                     Exhibit 1
Associate of Arts: Major in Communication
         Case 6:19-bk-14667-MW      Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25   Desc
Michigan State - East Lansing, MI   Main Document    Page 23 of 52                      March 1990

Affiliations
NFL Alumni Association
NFL Retired Players Association
Michigan State Alumni Association

Designations
Real Estate Broker since 1998.
Contractors License




                                          Exhibit 1
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                     Exhibit 2
              BK Global Qualifications
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                                            Exhibit 2
                     STATEMENT OF QUALIFICATIONS OF BKRES
BK Global™

BK Global™ is a national company with a bankruptcy service platform containing a network of
certified BK real estate Brokers and Agents, a national marketplace for listing and submitting
bankruptcy real estate purchase offers (www.bankruptcylistings.com), and a centralized team of
loan servicing specialist that enable Federal Trustees to streamline and manage their real estate
needs most effectively for the benefit of the bankruptcy estate and unsecured creditors. By
integrating its unique services and implementing its proprietary tools, BK Global is poised to
create industry standards and efficiencies.

Consented Sale™

A Consented Sale™ is an “enhanced” agreement between all requisite stakeholders, the most
important being the lender/servicer, of a residential or commercial property for less than what the
owner still owes on the mortgage. A Consented Sale™ is a beneficial alternative to foreclosure
when a homeowner needs to sell and can no longer afford to make their mortgage payments. The
lender agrees to accept less than the amount owed to pay off a loan now rather than taking the
property back by foreclosure and trying to sell it later. Lenders agree to a Consented Sale™
because they believe it will net them more money than going forward with a lengthy and costly
foreclosure process.

A Consented Sale™ is an “enhanced” short sale and BK Global™ is able to obtain pre-consent
by utilizing its proprietary BK Score™ system that analyzes and provides lenders an immediate
evaluation of the value of the property and its probability for sale. In addition, BK Global™ is
able to agree with lenders/servicers on a strike price for each property, and utilize its national
www.bankruptcylistings.com marketplace for listings and online offer management platform.

BK Score™

BK Score™ is generated from a finite set of data points in a prescribed sequence to achieve a
resulting score between the values of 1 and 100. The BK Score™ is shared with trustees,
servicers, courts, and software management platforms and indicates the likelihood that an asset
in a bankruptcy is qualified for consented disposition. The higher the BK Score™ there is a
better chance to sell the property. In addition to the presented scores, BK Global provides the
trustee a solution to sell the asset which maximizes the benefit to the estate. BK Global™ is at
the     forefront    of     creating   new    industry    standards     for    trustee  services.

To consistently measure and predict market value of real estate assets nationally, in an ever
changing and fluid real estate market, it is important to have a well-defined methodology that
explains how values are derived. The BK Score™ uses multiple data points to predict sales
confidence compared to the limited local market inputs used by real estate brokers who are not



                                       Exhibit 2
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  certified in short sales. BK Score™ incorporates a number of unique methodology questions that
  include the data points listed below.

  Highlighted BK Score™ Data Points

         Asset Value / Liabilities / Liens
         Judicial / Non-judicial State Analysis
         Pro Se (Professional Legal Representation)
         Title Search
         Statement of Intent by Debtor
         Foreclosure Timeline Analysis
         Redemption Period Analysis
         Community / Non-community Asset
         Asset Valuation Model (AVM)


   BK Score™ Core Benefits

Increased Confidence of a Consented Short Sale – BK Score™ gives lenders, servicers and real
estate professionals more precise information on which to determine baseline sales values to achieve
a successful consented short sale.
Accelerates the Short Sale Decision Process – Technology that utilizes scoring systems allows
lenders/servicers to make instant valuation and sales consent decisions. This is notable as applications
for consented sale of property can be approved by lenders/servicers in hours rather than weeks for
sales values which score above a lender's score cutoff.
Reduces Risk of Completing a Cooperative Short Sale – There are certain barriers to a short sale.
Servicers are frequently wary of short sale offers because of concerns that they are settling the debt at
too low a price. Greater probability that servicers will consent to a short sale is made possible thanks
to BK Score™. The BK Score™ empowers any lender/servicer to quickly set a cut off price and
begin the short sale process, without time-consuming phone calls, faxed documents, or any effort
from the agent or trustee.
Increases Transaction Transparency – BK Global™ is integrated with most major lender/servicers
nationally. The BK Score™, which has revolutionized the default servicing industry, helps servicers
select and execute optimal baseline valuations based on measurable guidelines while driving
efficiency, fostering transparency and facilitating compliance. With the use of BK Score™ agents and
trustees can quickly collaborate and determine an appropriate list price that allow agents to begin
pursuing sales offers with confidence.
The BK Score™ algorithm has been developed by industry experts that have over 30 years of
experience in Distressed Real Estate and Bankruptcy Sales. To date, over 2 years of bankruptcy assets
have been analyzed and scored using the BK Global Scoring system. BK Score™ is a trademark
pending registration with the US Trademark and Patent Office.

  BK Search™




                                          Exhibit 2
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BK Search™, powered by the leading national investigation firm Interfor Inc., enables trustees in
the BK Global™ program to perform nationwide searches on all potential assets in bankruptcy.
Trustees will receive an extremely valuable initial report prior to their 341(a) meeting, which
will allow them to question uncovered assets. Interfor is a US based international investigation
and security consulting firm specializing in comprehensive intelligence services to the legal,
corporate, financial communities and individuals. The company is staffed by highly skilled
investigators and fraud examiners, many of whom have been associated with government,
defense, and intelligence agencies worldwide, including the United States CID, CIA, DEA and
FBI agencies. Interfor is fully licensed and operates in the United States, Europe, the Middle
East, the Americas, Africa and Asia. The investigators are also supported by a sophisticated
research division using state-of-the-art technology.




                                      Exhibit 2
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                  Exhibit 3
      Listing Agreement and Addendum
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                              Exhibit 3
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
100 Spectrum Center Drive, Suite 600, Irvine, California 92618

A true and correct copy of the foregoing document entitled: NOTICE OF OPPORTUNITY TO REQUEST A HEARING ON
MOTION [LBR 9013-1(o)] will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/08/2019 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/08/2019 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) N/A              , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 10/08/2019         Lorre Clapp                                                        /s/ Lorre Clapp
 Date                       Printed Name                                                      Signature




         This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 3               F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
        Case 6:19-bk-14667-MW                      Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25                                      Desc
                                                   Main Document    Page 47 of 52



                                                             NEF SERVICE LIST

    •   Lynda T. Bui (TR)                  Chapter 7 Trustee trustee.bui@shbllp.com, C115@ecfcbis.com
    •   Wendy A Locke on behalf of Select Portfolio Servicing Inc as servicer for U.S. Bank NA,
        successor trustee to Bank of America, NA, successor to LaSalle Bank NA, as trustee, for the
        Washington Mutual Mortgage Pass-Through Certifi ecfcacb@aldridgepite.com,
        wlocke@ecf.inforuptcy.com
    •   Valerie Smith               on behalf of Interested Party claims@recoverycorp.com
    •   Rex Tran on behalf of the Debtor rtran@tranbankruptcylaw.com,
        rtran@tranbklaw.com;r42731@notify.bestcase.com
    •   United States Trustee (RS) on behalf of the United States Trustee
        ustpregion16.rs.ecf@usdoj.gov




                                              UNITED STATES MAIL SERVICE LIST

 DEBTOR:                                             COURT MAILING LIST:                                  COURT MAILING LIST:
 Nixon Tiangco Sy                                    Employment Development Dept.                         Franchise Tax Board
 7413 Maggie Ln                                      Bankruptcy Group Mic 92e                             Bankruptcy Section Ms: A-340
 Eastvale, Ca 92880-3378                             P.O. Box 826880                                      P.O. Box 2952
                                                     Sacramento, Ca 94280-0001                            Sacramento, Ca 95812-2952

 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Bank Of America                                     Barclays Bank Delaware                               Capital One
 4909 Savarese Circle                                Attn: Correspondence                                 Attn: Bankruptcy
 Fl1-908-01-50                                       Po Box 8801                                          Po Box 30285
 Tampa, Fl 33634-2413                                Wilmington, De 19899-8801                            Salt Lake City, Ut 84130-0285

 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Chase Card Services                                 Citibank                                             Citibank/Best Buy
 Attn: Bankruptcy                                    Centralized Bankruptcy                               Attn: Bankruptcy
 Po Box 15298                                        Po Box 790034                                        Po Box 790441
 Wilmington, De 19850-5298                           St Louis, Mo 63179-0034                              St. Louis, Mo 63179-0441

 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Citibank/Goodyear                                   Citibank/Shell Oil                                   Comenity Bank/Victoria Secret
 Citibank Corp/Centralized Bankruptcy                Citibank Corp/Centralized Bankruptcy                 Attn: Bankruptcy
 Po Box 790034                                       Po Box 790034                                        Po Box 182125
 Saint Louis, Mo 63179-0034                          Saint Louis, Mo 63179-0034                           Columbus, Oh 43218-2125

 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Comenity Capital Bank/Hsn                           County Of Orange                                     Discover Financial Services Llc
 Attn: Bankruptcy Dept                               Po Box 22099                                         Po Box 3025
 Po Box 182125                                       Santa Ana, Ca 92702-2099                             New Albany Oh 43054-3025
 Columbus, Oh 43218-2125

 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Internal Revenue Service                            Kohls/Capital One                                    Nordstrom Fsb
 Centralized Insolvency Operation                    Kohls Credit                                         Attn: Bankruptcy
 Po Box 7346                                         Po Box 3120                                          Po Box 6555
 Philadelphia, Pa 19101-7346                         Milwaukee, Wi 53201-3120                             Englewood, Co 80155-6555




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
        Case 6:19-bk-14667-MW                      Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25                                      Desc
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 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Quall Cardot Llp                                    Select Portfolio Servicing                           Syncb/Toys R Us
 205 E River Park Cicle #110                         Po Box 65250                                         Attn: Bankruptcy
 Fresno, Ca 93720-1572                               Salt Lake City, Ut 84165-0250                        Po Box 965060
                                                                                                          Orlando, Fl 32896-5060

 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Synchrony Bank/ Jc Penneys                          Synchrony Bank/Amazon                                Synchrony Bank/Gap
 Attn: Bankruptcy                                    Attn: Bankruptcy                                     Attn: Bankruptcy
 Po Box 956060                                       Po Box 965060                                        Po Box 965060
 Orlando, Fl 32896-0001                              Orlando, Fl 32896-5060                               Orlando, Fl 32896-5060

 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Synchrony Bank/Mervyns                              Synchrony Bank/Tjx                                   Synchrony Bank/Walmart
 Attn: Bankruptcy                                    Attn: Bankruptcy                                     Attn: Bankruptcy
 Po Box 965060                                       Po Box 965060                                        Po Box 965060
 Orlando, Fl 32896-5060                              Orlando, Fl 32896-5060                               Orlando, Fl 32896-5060

 COURT MAILING LIST:                                 COURT MAILING LIST:                                  COURT MAILING LIST:
 Target                                              Visa Dept Store National Bank/Macy's                 Wells Fargo Bank Na
 Attn: Bankruptcy                                    Attn: Bankruptcy                                     Attn: Bankruptcy
 Po Box 9475                                         Po Box 8053                                          1 Home Campus Mac X2303-01a
 Minneapolis, Mn 55440-9475                          Mason, Oh 45040-8053                                 Des Moines, Ia 50328-0001



 Returned Mail                                                                                            COURT MAILING LIST:
                                                                                                          Courtesy Nef
                                                                                                          Undeliverable

 COURT MAILING LIST:                                 COURT MAILING LIST:
 Select Portfolio Servicing Inc As Servicer F        Riverside Division
 Undeliverable                                       3420 Twelfth Street,
                                                     Riverside, Ca 92501-3819
                                                     Undeliverable




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
10/8/2019   Case 6:19-bk-14667-MW                  Doc 31CM/ECF
                                                            Filed   10/28/19
                                                                - U.S.             Entered
                                                                       Bankruptcy Court (v5.2.1 - 10/28/19
                                                                                                  LIVE)    12:37:25   Desc
File a Motion:                                     Main Document         Page 49 of 52

6:19-bk-14667-MW Nixon Tiangco Sy
Type: bk                     Chapter: 7 v                                      Office: 6 (Riverside)
Assets: n                    Debtor disposition: Standard                      Judge: MW
                             Discharge

                                                            U.S. Bankruptcy Court

                                                        Central District of California

Notice of Electronic Filing

The following transaction was received from Lynda T. Bui (TR) entered on 10/8/2019 at 5:31 PM PDT and filed on
10/8/2019
Case Name:           Nixon Tiangco Sy
Case Number:         6:19-bk-14667-MW
Document Number: 28

Docket Text:
Application to Employ Pro Realty Group and BK Global Real Estate Services as Real Estate Broker Chapter 7 Trustees
Application for Order Authorizing Employment of the Broker Team of Pro Realty Group and Bk Global Real Estate
Services as Real Estate Broker; Declarations of Matt Vanderbeek and Patrick Butler in Support Thereof (with Notice of
Opportunity to Request a Hearing and proof of service) Filed by Trustee Lynda T. Bui (TR) (Bui (TR), Lynda)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Employ Short Sale Broker Team App TC Sy-FILE COPY WITH NOTICE.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1106918562 [Date=10/8/2019] [FileNumber=96093195-
0] [7a593488f367343877696ca0fdbcbb39c2314efe2fe124d055b33f2af3acce90db
803b5a7cb99cec6c6282981d4af06245966f3fcf1e2bbbb7175fd59c3429dc]]

6:19-bk-14667-MW Notice will be electronically mailed to:

Lynda T. Bui (TR)
trustee.bui@shbllp.com, C115@ecfcbis.com

Wendy A Locke on behalf of Creditor Select Portfolio Servicing Inc as servicer for U.S. Bank NA, successor trustee to
Bank of America, NA, successor to LaSalle Bank NA, as trustee, for the Washington Mutual Mortgage Pass-Through
Certifi
ecfcacb@aldridgepite.com, wlocke@ecf.inforuptcy.com

Wendy A Locke on behalf of Interested Party Courtesy NEF
ecfcacb@aldridgepite.com, wlocke@ecf.inforuptcy.com

Valerie Smith on behalf of Interested Party Courtesy NEF
claims@recoverycorp.com

Rex Tran on behalf of Debtor Nixon Tiangco Sy
rtran@tranbankruptcylaw.com, rtran@tranbklaw.com;r42731@notify.bestcase.com

United States Trustee (RS)
ustpregion16.rs.ecf@usdoj.gov

6:19-bk-14667-MW Notice will not be electronically mailed to:
https://ecf.cacb.uscourts.gov/cgi-bin/Dispatch.pl?885129878564201                                                            1/2
10/8/2019   Case 6:19-bk-14667-MW                  Doc 31CM/ECF
                                                            Filed   10/28/19
                                                                - U.S.             Entered
                                                                       Bankruptcy Court (v5.2.1 - 10/28/19
                                                                                                  LIVE)    12:37:25   Desc
                                                   Main Document         Page 50 of 52




https://ecf.cacb.uscourts.gov/cgi-bin/Dispatch.pl?885129878564201                                                            2/2
        Case 6:19-bk-14667-MW                    Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25                                      Desc
                                                 Main Document    Page 51 of 52

                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
100 Spectrum Center Drive, Suite 600, Irvine, CA 92618

A true and correct copy of the foregoing document entitled: DECLARATION THAT NO PARTY REQUESTED A
HEARING ON MOTION [LBR 9013-1(o)(3)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/28/2019 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 10/28/2019 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 10/28/2019         Lorre Clapp                                                      /s/ Lorre Clapp
 Date                        Printed Name                                                    Signature




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 3                    F 9013-1.2.NO.REQUEST.HEARING.DEC
       Case 6:19-bk-14667-MW     Doc 31 Filed 10/28/19 Entered 10/28/19 12:37:25        Desc
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                                          NEF Service List:

   •       Lynda T. Bui (TR) Chapter 7 Trustee trustee.bui@shbllp.com, C115@ecfcbis.com

   •       Wendy A Locke on behalf of Select Portfolio Servicing Inc as servicer for U.S. Bank NA,
        successor trustee to Bank of America, NA, successor to LaSalle Bank NA, as trustee, for the
        Washington Mutual Mortgage Pass-Through Certifi ecfcacb@aldridgepite.com,
        wlocke@ecf.inforuptcy.com

   •       Valerie Smith on behalf of Interested Party claims@recoverycorp.com

   •       Rex Tran on behalf of the Debtor rtran@tranbankruptcylaw.com, rtran@tranbklaw.com;
        r42731@notify.bestcase.com

   •       United States Trustee (RS) on behalf of the United States Trustee
        ustpregion16.rs.ecf@usdoj.gov


                                         U.S. Mail Service List:

Judge's Copy:
Hon Mark S Wallace, US Bankruptcy Court, 411 W Fourth Street, Suite 6135, Santa Ana, CA 92701
